

People v Powell (2020 NY Slip Op 06026)





People v Powell


2020 NY Slip Op 06026


Decided on October 22, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 22, 2020

Before: Friedman, J.P., Kern, Scarpulla, Shulman, JJ. 


Ind No. 576/16 576/16 Appeal No. 12148 Case No. 2017-03443 

[*1]The People of the State of New York, Respondent,
vIyundah Powell, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Simon Greenberg of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Diana J. Lewis of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Eugene Oliver, J.), rendered June 27, 2017, convicting defendant, upon his plea of guilty, of robbery in the third degree and grand larceny in the fourth degree, and sentencing him, as a second felony offender, to consecutive terms of 3½ to 7 and 2 to 4 years, unanimously modified, on the law, to the extent of directing that both sentences be served concurrently, and otherwise affirmed. The matter is remitted to Supreme Court for further proceedings pursuant to CPL 460.50(5).
As the People concede, concurrent sentences are required because the crimes were committed through a single act. The administrative matters raised by the People
may be addressed by the appropriate agencies and do not require a resentencing proceeding.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 22, 2020








